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          1000 N.W. 57 Court      (94706342)
                                      (cr)

          16 McLeland Rd.         (94706371)
                                      (cr)

          2004 Basset Ave.        (94706368)
                                      (cr)

          2365 Norhside Drive     (94706360)
                                       (cr)

          2900 Corporate Way      (94706374)
                                       (cr)

       2900 Corporate WayMiramar, FL 33025       (94706331)
                                                    (cr)

          3800 S. Congress Ave.    (94706364)
                                       (cr)

          4000 Ponce De Leon Blvd.    (94706347)
                                          (cr)

          4315 S. 2700 West           (94706339)
                                          (cr)

          500 Summit Lake Dr.         (94706355)
                                          (cr)

          500 Summit Lake Drive        (94706351)
                                           (cr)

          801 Tom Martin Drive         (94706383)
                                           (cr)

          American Express              (94706335)
                                            (cr)

          American Express Bank         (94706338)
                                            (cr)
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           American Express Bank4315 S. 2700 West
           Salt Lake City, UT84148       (94706321)
                                             (cr)

           Citibank South Dakota N.A.     (94706358)
                                              (cr)

      Cavalry Portfolio Svcs LLC 500 Summit Lake Dr.
      Suite 400
      Valhalla, NY 10595                (94706325)
                                              (cr)

           Cavalry Portfolio Svcs LLC     (94706354)
                                              (cr)

           Cavalry Portfolio              (94706350)
                                              (cr)

           c/o Midland Credit Management, Inc.   (94706359)
                                                     (cr)

           c/o Kevin Brown, Esq.                 (94706346)
                                                     (cr)

           Boynton Beach, FL33426                (94706366)
                                                     (cr)

           Birmingham, AL 35211                  (94706385)
                                                     (cr)

  Arborgate Patio Homes at Kendall Lakes E c/o Kevin
  4000 Ponce De Leon Blvd.
  Suite 470
  Coral Gables, FL 33146                         (94706323)
                                                      (cr)

          Arborgate Patio Homes at Kendall Lakes E     (94706345)
                                                           (cr)

  Andreu, Palma, Lavin & Solis PLLC1000 N.W. 57 Court
  Suite 400
  Miami, FL 33126                             (94706322)
                                                  (cr)
Case 18-21025-RBR    Doc 13      Filed 10/09/18   Page 3 of 5



          Andreu, Palma, Lavin & Solis, PLLC      (94706341)
                                                      (cr)

          American ExpressPOB 981537
          El Paso, TX 79998                       (94706320)
                                                       (cr)

          Coral Gables, FL 33146                  (94706349)
                                                       (cr)

          Dallas, TX 75219                        (94706378)
                                                       (cr)

          El Paso, TX                             (94706369)
                                                       (cr)

          El Paso, TX                              (94706337)
                                                        (cr)

          Focus Financial Svcs                     (94706363)
                                                        (cr)

          Focus Financial Svcs
          3800 S. Congress Ave.Suite 3
          Boynton Beach, FL 33426                  (94739444)
                                                        (cr)

          GE Money Bank                            (94706367)
                                                       (cr)

          GE Money Bank12004 Bassett Ave.
          El Paso, TX 79901                        (94706328)
                                                        (cr)

           Jefferson Capital LLC                   (94706370)
                                                        (cr)

           Jefferson Capital LLC16 McLeland Rd.
           Saint Cloud, MN 56303                (94706329)
                                                    (cr)

           Memorial Healthcare System             (94706330)
                                                      (cr)
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           Memorial Healthcare System             (94706373)
                                                      (cr)

           Miami, FL 33126                         (94706344)
                                                       (cr)

           Miramar, FL 33025                       (94706375)
                                                       (cr)

           Nationstar Mortgage                     (94706376)
                                                       (cr)

           Nationstar MortgagePOB 199111
           Dallas, TX 75219                        (94706332)
                                                       (cr)

           Ocwen Loan Svcg                         (94706379)
                                                       (cr)

           Ocwen Loan SvcgPOB 24738
           West Palm Beach, FL 33416                (94706333)
                                                        (cr)

           POB 199111                               (94706377)
                                                        (cr)

           POB 24738                                (94706380)
                                                        (cr)

           POB 981537                               (94706336)
                                                         (cr)

           Saint Cloud, MN 56303                    (94706372)
                                                         (cr)

           Salt Lake City, UT 84148                 (94706340)
                                                         (cr)

           San Diego, CA 92108                      (94706362)
                                                        (cr)

           Suite 120                                (94706384)
                                                        (cr)
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           Suite 3                                 (94706365)
                                                        (cr)

           Suite 300                               (94706361)
                                                        (cr)

           Suite 400                               (94706356)
                                                        (cr)

           Suite 400                               (94706352)
                                                        (cr)

           Suite 400                               (94706343)
                                                        (cr)

           Suite 470                               (94706348)
                                                       (cr)

           U.S. Small Business Administration      (94706382)
                                                       (cr)

           Valhalla, NY 10595                      (94706353)
                                                        (cr)

           Valhalla, NY 10595                      (94706357)
                                                        (cr)

            West Palm Beach, FL 33416              (94706381)
                                                       (cr)
